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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

__________________________________________
                                          )                               Chapter 11
In re:                                    )
                                          )
FTX TRADING LTD., et al., 1               )                               Case No. 22-11068 (JTD)
                                          )                               (Jointly Administered)
                                          )
       Debtors.                           )
                                          )
__________________________________________)

           ORDER GRANTING MOTION TO VACATE THE ORDER
    GRANTING FTX DEBTORS’ MOTION TO ESTIMATE CLAIMS BASED ON
DIGITAL ASSETS WITH RESPECT TO NUGENESIS OU AND NUGENESIS PTY LTD

         Upon consideration of Nugenesis Ou and Nugenesis PTY Ltd’s (“NuGen”) Motion to

Vacate The Order Granting FTX Debtors’ Motion to Estimate Claims Based on Digital Assets

With Respect to Nugenesis Ou and Nugenesis PTY Ltd, after notice and opportunity for hearing;

and the Court having reviewed the Motion and objections thereto, if any, it appearing to the court

that; (a) it has jurisdiction over the matter pursuant to 28 U.S.C. §§ 157 and 1334; and (b) this is a

core proceeding pursuant to 28 U.S.C. 157(b)(2); and the court finding that notice of the Motion

given by Movant is appropriate under the circumstances, and the court being fully advised in the

premises and having determined that a legal and factual basis set forth in the Motion establish just

cause for the relief granted herein, it is hereby

                  IT IS HEREBY ORDERED THAT:

         1.       The Motion is GRANTED as set forth herein.



1
 The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of
such information may be obtained on the website of the Debtors’ claims and noticing agent at
https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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       2.     The Estimation Order [D.I. 7090] is vacated with respect to Nugenesis Ou and

Nugenesis PTY Ltd.

       3.     This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation and enforcement of this Order.




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